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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


WP CO., LLC,
d/b/a THE WASHINGTON POST

              Plaintiff,

     v.

NATIONAL HIGHWAY TRAFFIC
SAFETY ADMINISTRATION                              Civil Action No. 24-cv-1353 (TSC)

              Defendant,

     and

TESLA, INC.

              Intervenor-Defendant.


                  MEMORANDUM IN SUPPORT OF DEFENDANT’S
                     MOTION FOR SUMMARY JUDGMENT
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       This case involves a Freedom of Information Act (“FOIA”) request submitted by Plaintiff

WP Co., LLC d/b/a The Washington Post (the “Post”) to the National Highway Traffic Safety

Administration (the “Agency”) seeking information relating to certain automobile incidents that

occurred while an advanced driver assistance system was engaged. See Compl. ¶¶ 2-3 (ECF

No. 1). The Agency undertook appropriate efforts to search for and provide responsive records.

The Post does not dispute the adequacy of the Agency’s search but instead claims that the Agency

improperly withheld certain information pursuant to Exemptions 4 and 6, relating to specific

details of each incident. See Jan. 9, 2025, Joint Status Report, at 5 (ECF No. 22). Given their

equities in the withholdings under Exemption 4, Tesla, Inc. (“Tesla”) sought and received leave to

intervene in this matter. See Dec. 12, 2024, Order (ECF No. 19). As explained herein, in the

attached Statement of Undisputed Material Facts, declarations of Shonda Humphrey (“Humphrey

Decl.”) and Michael Kuppersmith (“Kuppersmith Decl.”), and Vaughn index, as well as in Tesla’s

own motion and supporting documents (“Gates Decl.”), 1 no questions of material fact remain, and

the Administration is entitled to judgment as a matter of law.

                                         INTRODUCTION

       The information sought by the Post was submitted to the Agency by various entities—

certain manufacturers and operators of vehicles equipped with Automated Driving Systems

(“ADS”) and Level 2 Advanced Driver Assistance Systems (“ADAS”) vehicles—which are

required to report specified incidents to the Agency. The Agency produced information responsive

to the Post’s FOIA request but withheld certain information pursuant to FOIA Exemptions 4 and




1
       Tesla, as intervenor-defendant, has filed its own motion for summary judgment and
supporting documents this same day.
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6. The sole remaining issue before the Court is whether the Agency’s withholdings were

appropriate.

       The Agency properly applied Exemption 4 to certain categories of information for which

the reporting entities had requested confidential treatment at the time of submission. Exemption

4 protects from disclosure “trade secrets and commercial or financial information obtained from a

person [that is] privileged or confidential.” 5 U.S.C. § 552(b)(4). The Agency appropriately

determined that the information in question was customarily and actually kept private by the

submitters, and that further disclosure would cause foreseeable commercial harm to both the

reporting entities and the Agency.

       Similarly, the Agency properly applied Exemption 6 to certain categories of information

that constitute personally identifiable information. Exemption 6 protects “personnel and medical

files and similar files the disclosure of which would constitute a clearly unwarranted invasion of

personal privacy[.]” 5 U.S.C. § 552(b)(6). The Agency appropriately determined that release of

this information would substantially compromise the privacy interests of third-party private

individuals who were involved in the underlying automobile incidents.

                                     STATEMENT OF FACTS

       On April 5, 2023, the Agency issued the Standing Order. Kuppersmith Decl. ¶ 12. The

Standing Order requires vehicle and equipment manufacturers and operators of vehicles equipped

with Automated Driving Systems (“ADS”) and Level 2 Advanced Driver Assistance Systems

(“ADAS”) 2 that have been served with the Standing Order to report crashes and incidents that

occurred while these systems were in use. Kuppersmith Decl. ¶ 12. The incident reports must be


2
 Under the Standing Order, a Level 2 ADAS feature is a driver support feature on the vehicle that
can control both steering and braking/accelerating simultaneously under some circumstances. The
human driver must remain fully and continuously engaged in the driving task.


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electronically submitted using an online portal and a template form, which identifies several

categories of information to be submitted. Kuppersmith Decl. ¶¶ 12, 17; see also Standing Order

(ECF No. 1-1) at 17, 29, 39.

       The Standing Order states that, with three exceptions, the Agency predetermined that the

information submitted was deemed not to include any confidential business information (“CBI”)

that would be exempt from disclosure under Exemption 4. Kuppersmith Decl. ¶ 13; Standing

Order (ECF No. 1-1) at 14. The Agency based this determination on an evaluation of the highly

competitive nature of the automotive industry, particularly in the emerging technology space of

vehicle advanced driver systems. Kuppersmith Decl. ¶ 21. The Agency concluded that there was

a reasonable and foreseeable risk of competitive harm if information relating to the specifics of

how each submitter’s software, hardware, and technology worked were subject to public

disclosure. Kuppersmith Decl. ¶ 21. The Standing Order therefore permits submitters to request

CBI protections for three exceptions that are more likely to reveal proprietary aspects of

ADAS/ADS design and technology. Kuppersmith Decl. ¶ 15.

       The three exceptions for which reporting entities were allowed to claim CBI protections

were limited to: “(1) the hardware and software versions of the ADAS/ADS on the vehicle at the

time of the incident; (2) whether the vehicle was within its Operational Design Domain (“ODD”)

at the time of the incident; and (3) the reporting entity’s narrative of the incident.” Kuppersmith

Decl. ¶ 14; Standing Order (ECF No. 1-1) at 14-15. These three categories were treated differently

for confidentiality purposes from the other reporting fields under the Standing Order because the

information reported under each of these three categories is more likely to reveal proprietary

aspects of the system’s design. Kuppersmith Decl. ¶ 21. In contrast, information reported for the




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other fields in the Standing Order focuses on more public-facing characteristics of an incident,

such as the city in which the crash occurred. See Standing Order (ECF No. 1-1) at 12-13.

       The Agency provided instructions on how an entity could request CBI protections for the

three specific categories within the Standing Order. Kuppersmith Decl. ¶ 17; Standing Order (ECF

No. 1-1) at 33. The Agency expressly noted, however, that an entity’s request for CBI protection

did not guarantee that the Agency would grant such protections, and instructed the entities to

narrowly tailor CBI requests. Kuppersmith Decl. ¶ 16; Standing Order (ECF No. 1-1) at 14-15.

       The Agency publishes the incident reports collected under the Standing Order on a monthly

basis, after first reviewing them and redacting both personally identifiable information (“PII”) as

well as information claimed to be CBI. 3 Kuppersmith Decl. ¶ 18. These reports are published on

the Agency’s website. 4

       On May 30, 2023, the Post submitted a FOIA request (the “Request”) to the Agency

seeking the Agency’s “Level 2 ADAS incident report data spreadsheet in unredacted format,

including the unredacted ‘ADAS/ADS Version’, ‘Within ODD?’, and ‘Narrative’ columns.”

Humphrey Decl. ¶ 6; see also Request (ECF No. 1-3).

       On January 22, 2024, the Agency provided a partial response to the Request and advised

the Post that the Agency had granted a set of Tesla’s requests for confidential treatment of the

withheld columns pursuant to the Standing Order, and that the Agency was therefore withholding




3
  The Agency’s regulations regarding CBI requests require it to treat information subject to a
properly filed confidentiality request as confidential until a determination regarding its
confidentiality is made. 49 C.F.R. § 512.20(a).
4
   Level 2 ADAS Incident Report Data, available at https://static.nhtsa.gov/odi/ffdd/sgo-2021-
01/SGO-2021-01_Incident_Reports_ADAS.csv.


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that information under Exemption 4. 5 Humphrey Decl. ¶ 7; see also Jan. 22, 2024, Letter (ECF

No. 1-4). Specifically, the Agency noted that, after engaging in its own analysis of the CBI

requests submitted by Tesla, it had determined that Exemption 4 applied. Humphrey Decl. ¶ 7;

see also Oct. 3, 2023, Letter (ECF No. 1-5).

        The Agency additionally withheld PII pursuant to Exemption 6. See Jan. 22, 2024, Letter

(ECF No. 1-4). This information included specific geographical locations of reported crashes,

including latitude, longitude, address, and zip code, and information on when the incident

occurred, including the date the incident occurred and when the reporting entity received notice of

the incident. Humphrey Decl. ¶ 13. It also included the last six digits of the Vehicle Identification

Number (“VIN”). Humphrey Decl. ¶ 16. 6

       The Post appealed the Agency’s response on March 22, 2024, asserting that the Agency’s

withholdings under both Exemptions 4 and 6 were improper. Compl. ¶¶ 39-43; see also Appeal

(ECF No. 1-7). Notably, the Post did not appeal the adequacy of the Agency’s search, nor has it

taken issue with the Agency’s search at any point during the pendency of this litigation. See

Compl. ¶¶ 39-43; Appeal (ECF No. 1-7); Jan. 9, 2025, Joint Status Report (ECF No. 22).

       Before the Agency could respond to the Post’s appeal, the Post filed the present Complaint.

                                        LEGAL STANDARD

       Summary judgment is appropriate when there is “no genuine dispute as to any material fact

and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). A material fact



5
  Most of the reports in the spreadsheet referenced in the Request were submitted by Tesla. The
entirety of the Agency’s first partial response to the Request related to reports submitted by Tesla,
although other manufacturers’ reports were included in the Agency’s subsequent productions.
6
 The Agency also withheld signatures and PII of the crash investigator for each incident, but the
Post is not challenging those withholdings.


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is one that “might affect the outcome of the suit under the governing law.” Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248 (1986). The party seeking summary judgment must demonstrate

an absence of a genuine issue of material fact. See Celotex Corp. v. Catrett, 477 U.S. 317, 323

(1986). Once the movant has met its burden, the non-movant “may not rest upon the mere

allegations or denials of his pleading, but . . . must set forth specific facts showing that there is a

genuine issue for trial.” Anderson, 477 U.S. at 248.

       FOIA cases are typically decided on motions for summary judgment. Ryan v. FBI, 174 F.

Supp. 3d 486, 490 (D.D.C. 2016), summ. aff’d, No. 16-5108, 2016 WL 6237841 (D.C. Cir.

Sept. 16, 2016); see also Benjamin v. Dep’t of State, 178 F. Supp. 3d 1, 3 (D.D.C. 2016), aff’d,

2017 WL 160801 (D.C. Cir. Jan. 3, 2017) (quoting Moore v. Bush, 601 F. Supp. 2d 6, 12 (D.D.C.

2009)). In the FOIA context, an agency is entitled to summary judgment if it “proves that it has

fully discharged its obligations” under FOIA. Reliant Energy Power Generation, Inc. v. FERC,

520 F. Supp. 2d 194, 200 (D.D.C. 2007) (citing Weisberg v. Dep’t of Just., 705 F.2d 1344, 1350

(D.C. Cir. 1983)). To do so, an agency must prove that each document responsive to the request(s)

has been produced, is unidentifiable, or is wholly exempt from disclosure. Weisberg v. Dep’t of

Just., 627 F.2d 365, 368 (D.C. Cir. 1980) (quoting Nat’l Cable Television Ass’n v. FCC, 479 F.2d

183, 186 (D.C. Cir. 1973)). To meet its burden, a defendant may rely on reasonably detailed and

non-conclusory declarations. See, e.g., McGehee v. CIA, 697 F.2d 1095, 1102 (D.C. Cir. 1983);

Santana v. Dep’t of Just., 828 F. Supp. 2d 204, 208 (D.D.C. 2011); Allen v. U.S. Secret Serv., 335

F. Supp. 2d 95, 97 (D.D.C. 2004).

       If redacting or withholding records, the agency must prove that its claimed exemptions

apply. Citizens for Resp. & Ethics in Wash. (“CREW”) v. Dep’t of Just., 746 F.3d 1082, 1088

(D.C. Cir. 2014) (citing Dep’t of Just. v. Reps. Comm. for Freedom of the Press, 489 U.S. 749,




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755 (1989)); Elec. Frontier Found. v. Dep’t of Just., 739 F.3d 1, 7 (D.C. Cir. 2014); 5 U.S.C.

§ 552(a)(4)(B). To do so, the agency must submit evidence proving that it is “logical” or

“plausible” that the invoked FOIA exemptions apply. Media Rsch. Ctr. v. Dep’t of Just., 818 F.

Supp. 2d 131, 137 (D.D.C. 2011) (citing Larson v. Dep’t of State, 565 F.3d 857, 862 (D.C. Cir.

2009)). “[T]he Court may award summary judgment solely on the basis of information provided

by the department or agency in declarations when the declarations describe ‘the documents and

the justifications for nondisclosure with reasonably specific detail, demonstrate that the

information withheld logically falls within the claimed exemption, and are not controverted by

either contrary evidence in the record nor by evidence of agency bad faith.’” CREW v. Dep’t of

Lab., 478 F. Supp. 2d 77, 80 (D.D.C. 2007) (quoting Mil. Audit Project v. Casey, 656 F.2d 724,

738 (D.C. Cir. 1981)). When relying on an affidavit or declaration, the evidence must “describe

the justifications for nondisclosure with reasonably specific detail, demonstrate that the

information withheld logically falls within the claimed exemption, and [that the evidence is] not

controverted by either contrary evidence in the record nor by evidence of agency bad faith.”

CREW, 746 F.3d at 1088 (quoting Larson, 565 F.3d at 862).

       Additionally, an agency may withhold information under a FOIA exemption—even if it

falls within the scope of the exemption—only if “the agency reasonably foresees that disclosure

would harm an interest protected by [that] exemption.” 5 U.S.C. § 552(a)(8)(A)(i)(I); see also

Reps. Comm. for Freedom of the Press v. Fed. Bureau of Investigation, 3 F.4th 350, 369-70 (D.C.

Cir. 2021). To satisfy this standard, an agency must “identify specific harms to the relevant

protected interests that it can reasonably foresee would actually ensue from disclosure of the

withheld materials,” and it must “connect [such] harms in a meaningful way to the information




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withheld.” Ctr. for Investigative Reporting v. U.S. Customs & Border Prot., 436 F. Supp. 3d 90,

106 (D.D.C. 2019) (cleaned up) (citation omitted).

        Agency declarations are sufficient to lay out the basis of the foreseeable harm. See, e.g.,

Cause of Action Institute v. Export-Import Bank of the United States, No. 19-1915, 2022 WL

252028, at *19 (D.D.C. Jan. 27, 2022) (agency declarations describing harm under Exemption 4

sufficient to establish foreseeable harm); Cause of Action Inst. v. Export-Import Bank of the United

States, 521 F. Supp. 3d 64, 94 (D.D.C. 2021) (agency declarations describing threat to privacy

under Exemption 6 sufficient to establish foreseeable harm); see also WP Co. LLC v. SBA, No. 20-

1240, 575 F. Supp. 3d 114, 118–19 (D.D.C. Dec. 13, 2021) (“the same documents that establish

that the withheld information is ‘privileged or confidential’ provide the requisite explanation of

foreseeable harm”).

                                            ARGUMENT

        At issue is the appropriateness of the Agency’s withholdings under both Exemption 4 and

Exemption 6. Specifically, the Post has challenged the Agency’s grant of Tesla’s and other

reporting entities’ CBI requests with respect to the hardware and software versions, whether the

vehicle was in the operational design domain, and the narrative of the incident, and the subsequent

withholding of that information under Exemption 4. Additionally, the Post has challenged the

Agency’s withholding of the location data of each incident and the Vehicle Identification Number

(“VIN”) of each vehicle under Exemption 6. However, the Agency’s withholdings under each of

these Exemptions is appropriate, and the Agency is therefore entitled to summary judgment.

  I.    The Agency’s Withholdings Under Exemption 4 Are Appropriate

        FOIA Exemption 4 protects from disclosure “trade secrets and commercial or financial

information obtained from a person [that is] privileged or confidential.” 5 U.S.C. § 552(b)(4).

Courts in this Circuit have long held that “commercial or financial information” are broad terms


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to be given their “ordinary meanings” and are protected so long as the submitter of the information

has a “commercial interest” in them. Pub. Citizen Health Rsch. Grp. v. FDA, 704 F.2d 1280, 1290

(D.C. Cir. 1983); see also Baker & Hostetler LLP v. Dep’t of Com., 473 F.3d 312, 319 (D.C. Cir.

2006). Such information is “confidential” under Exemption 4 if it is “customarily kept private, or

at least closely held, by the person imparting it.” Food Mktg. Inst. v. Argus Leader Media, 139 S.

Ct. 2356, 2363 (2019). In Argus Leader, the Supreme Court held that commercial or financial

information is “confidential” within the meaning of Exemption 4 “[a]t least” where the information

is “customarily and actually treated as private by its owner” and, perhaps, “provided to the

government under an assurance of privacy.” Id. at 2366.

       The information withheld under Exemption 4 falls into three categories, which align

precisely with the same three categories for which the Agency limited the availability of CBI in

the Standing Order. Standing Order (ECF No. 1-1) at 14-15. And while the Agency cautioned

reporting entities that CBI requests were not guaranteed, the information in those three categories

does, as a preliminary matter, potentially falls under the aegis of Argus Leader as information that

was provided to the government with at least some expectation of privacy. Argus Leader, 139 S.

Ct. at 2366. Those three categories—the applicable hardware and software versions, whether the

vehicle was in its operational design domain, and the narrative of the incident—are all customarily

and actually kept close by the reporting entities and the release of those categories of information

would reasonably and foreseeably harm those entities’ commercial and financial interests.

       As a preliminary matter, Tesla’s filings in this case exemplify the extent to which reporting

entities themselves consider the information at issue to be CBI. See, e.g., Gates Decl. ¶ 19 (noting

that all the material for which Tesla requested CBI protection is “technical and proprietary

information” that “Tesla does not disclose . . . publicly in the ordinary course of its business”).




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Tesla provided its confidential business information to the Agency “with the understanding and

expectation, based in part on the terms of the [Standing Order], that this information will remain

confidential.” Gates Decl. ¶ 23. The Agency concurs that “the reporting entities submitted the

information to the agency under the Agency’s framework of statutory and regulatory provisions

governing confidential information, which provides an assurance of privacy for confidential

business information.” Kuppersmith Decl. ¶ 20 (citing 49 U.S.C. § 30167; 49 C.F.R. Part 512,

Subpart E). This framework is in place for all reporting entities, and when other reporting entities

submit CBI requests, the Agency treats them in the same manner, providing an assurance of

privacy for CBI when those requests are supported appropriately—as was the case for the grants

the Agency issued in this matter.

       A. The Agency’s Hardware and Software Version of CBI Withholdings Are
          Appropriate

       The Agency found that the hardware and software versions of ADAS/ADS on the vehicle

at the time of the incident with which the vehicles are equipped would, if disclosed, reasonably

harm Tesla’s and other reporting entities’ commercial or financial interests and could, in turn,

impact those companies’ future willingness to provide confidential information, thus harming the

Agency’s own safety mission. Kuppersmith Decl. ¶ 20; see also Gates Decl. ¶ 17.

       As the Agency determined in its initial analysis (ECF No. 1-5), Tesla had sufficiently

established that this information was customarily private, or at least closely held. See Flyers Rights

Educ. Fund, Inc. v. Fed. Aviation Admin., 71 F.4th 1051, 1058 (D.C. Cir. 2023) (“[I]nformation

communicated to another remains confidential whenever it is customarily kept private, or at least

closely held, by the person imparting it”). And the Agency further determined that, given the

“highly competitive automotive industry,” especially in the context of ADAS/ADS, the public

release of “how Tesla’s software and vehicle technology work” would cause competitive harm to



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Tesla. Oct. 4, 2023, Letter (ECF No. 1-5); see also Kuppersmith Decl. ¶¶ 15, 20. The Agency

made similar determinations with respect to CBI requests submitted by other reporting entities.

       Tesla has provided further detail, explaining that it does not publicly disclose this

information because of the potential for competitive harm. Specifically, “[p]ublic release of

ADAS hardware and software versions would permit competitors to, among other things: (a)

assess the efficacy of a given version of hardware or software; (b) calculate the number of crashes

per the different software and hardware systems, and thereby draw conclusions as to Tesla’s rate

of progress; and (c) use crash information for a given hardware or software version to disparage

Tesla.” Gates Decl. ¶ 29.

       The Agency independently assessed that explanation and reasonably determined that the

hardware and software version information warrants CBI treatment and withholding under

Exemption 4. Kuppersmith Decl. ¶ 25. And again, Tesla has confirmed that it would not have

provided this information but for the regulatory obligations imposed by the Standing Order. Gates

Decl. ¶ 17. The Agency has thus reasonably determined that releasing the information would not

only cause a foreseeable commercial harm to Tesla, but it would also cause a foreseeable harm to

the Agency and negatively impact the Agency’s ability to continue obtaining otherwise

confidential information necessary for its safety mission. Kuppersmith Decl. ¶¶ 20, 28. The same

reasonable determination applies to the other reporting entities whose CBI requests the Agency

reviewed. This category of information is therefore appropriately withheld under Exemption 4.

       B. The Agency Appropriately Withheld Operational Design Domain Information

       The Agency next withheld the Operational Design Domain (“ODD”) information under

Exemption 4, again determining that the release of this information would cause a reasonably

foreseeable harm to both Tesla and the Agency. Under the Standing Order, the ODD refers to

operating conditions under which a given ADS or ADS feature is designed to function. This


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includes, but is not limited to, environmental, geographical, and time-of-day restrictions, and/or

the presence or absence of certain traffic or roadway characteristics. See Standing Order (ECF

No. 1-1), at 4 n.9. An ODD is typically defined by the developer of the automation system and

may implicate specific aspects of how the system is designed. As such, certain information about

an ODD may implicate design considerations that are not customarily made public by the

manufacturer

        Here too, Tesla’s filings illustrate the extent to which it—and other reporting entities—

customarily and actually keeps the information reported in the ODD field closely held and does

not disclose it publicly. Gates Decl. ¶ 19. And Tesla has again confirmed that it provided this

information to the Agency with the “understanding and expectation” based on the Standing Order

that the information would remain confidential. Gates Decl. ¶ 23. As the Agency therefore

determined, Tesla has met its initial burden under Argus Leader, both with respect to the customary

level of privacy and the expectation of confidentiality. See Argus Leader, 139 S. Ct. at 2366.

Likewise, the Agency made the same determination regarding the CBI requests made by other

reporting entities.

        The Agency has independently assessed Tesla’s CBI request and explanation and has

reasonably determined that the ODD information warrants CBI treatment and withholding under

Exemption 4. Kuppersmith Decl. ¶ 25. In particular, the Agency determined that the competitive

nature and developing technology within the ADAS/ADS space was particularly ripe for

competitive harm if proprietary information relating to the software, hardware, and technological

capabilities of each submitter’s systems were disclosed. Kuppersmith Decl. ¶¶ 15, 21. As with

the version ADAS/ADS information, the Agency has reasonably determined that disclosure would

foreseeably harm both Tesla and the Agency, and its withholding of this information under




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Exemption 4 is therefore appropriate. For similar reasons, the Agency’s withholding of the same

category of information for other reporting entities is equally appropriate.

       C. The Agency’s Withholdings Relating to the Narrative of the Incident Are
          Appropriate

       Finally, the Agency withheld portions of the narrative column under Exemption 4,

determining that at least some of the information therein would cause a reasonably foreseeable

harm if disclosed. Under the Standing Order, the narrative field solicits a brief description of the

crashes that occur while an ADAS was engaged at the time of crash. Standing Order (ECF No. 1-

1) at 5; Gates Decl. ¶ 20.

       As a starting point, the Agency conducted a careful and independent examination of the

information for which Tesla and the other reporting entities requested CBI protections, and it has

not “rubber-stamped” its approval of those requests. In fact, the Agency denied several of Tesla’s

requests for withholdings of the narrative information. Kuppersmith Decl. ¶ 21(a)-(d). Thus,

while Tesla’s narrative section includes details such as the source of the incident information, the

date when Tesla was notified, the Vehicle Owner’s Questionnaire numbers, and the date(s) of any

communications with the Agency regarding the incident, the Agency determined that those types

of information could not be considered CBI and would not reasonably cause harm if disclosed.

Kuppersmith Decl. ¶ 21. The Agency also denied Tesla’s request for CBI with respect to two

incidents where Tesla made public statements regarding the incidents, thus removing any

expectations of privacy from those incidents. Kuppersmith Decl. ¶ 21(e). Pursuant to the

Agency’s regulations, the Agency notified Tesla that it would not be granting the CBI requests for

this information, and Tesla did not appeal that determination.           Kuppersmith Decl. ¶ 23.

Accordingly, that information was produced to the Post.




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        With respect to the remainder of the information in the narrative section, however, the

Agency determined that Tesla and the other reporting entities would face a reasonably foreseeable

competitive or financial harm if the information was disclosed. Kuppersmith ¶ 20. The Agency

concurs with Tesla that the public release of this information would provide Tesla’s competitors a

wealth of information that could aid competitors in their development and/or harm Tesla through

disparagement or comparison. Kuppersmith Decl. ¶¶ 15, 25. Specifically, the information in the

narrative section could, if released, allow competitors to track the pace of Tesla’s development

and compare the effectiveness of Tesla’s models, draw inferences and attempt to copy Tesla’s

internal processes, and/or find weaknesses and strengths in Tesla’s systems for use in developing

their own systems. Kuppersmith Decl. ¶¶ 20, 25. Additionally, the narrative section included

customer privacy information involving individual driver behavior, that may also include

preliminary information that would be updated upon further investigation. Gates Decl. ¶¶ 33-34.

        The Agency independently assessed Tesla’s explanation and determined that specific

portions of the narrative warranted CBI treatment and withholding under Exemption 4.

Kuppersmith Decl. ¶¶ 15, 21, 25. As with the other categories of information, the Agency

reasonably determined that disclosure would foreseeably harm both Tesla and the Agency, and its

withholding of this information under Exemption 4 is therefore appropriate. And as with the other

categories of information, the Agency’s determination is correspondingly appropriate with respect

to the other reporting entities.

        Summary judgment is therefore appropriate with respect to the Agency’s application of

Exemption 4.

 II.    The Agency’s Withholdings Under Exemption 6 Are Appropriate

        The Agency applied Exemption 6 to the geographic location data for incidents and for the

vehicle identification number (“VIN”) of the vehicle involved. Humphrey Decl. ¶¶ 13-16.


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Specifically, the Agency withheld the latitude, longitude, address, and zip code details of each

incident, as well as the last six digits of the VIN. Humphrey Decl. ¶¶ 13-16. 7

       A. The Information Withheld Qualifies for Exemption 6 Withholdings

       FOIA Exemption 6 protects information contained in “personnel and medical files and

similar files the disclosure of which would constitute a clearly unwarranted invasion of personal

privacy.” 5 U.S.C. § 552(b)(6). Notably, “[t]he Supreme Court has interpreted the phrase, ‘similar

files’ to include all information that applies to a particular individual,” Lepelletier v. FDIC, 164

F.3d 37, 46 (D.C. Cir. 1999), and the Supreme Court has further recognized that “the protection

of Exemption 6 is not determined merely by the nature of the file in which the requested

information is contained.” U.S. Dep’t of State v. Wash. Post Co., 456 U.S. 595, 601 (1982) (citing

U.S. Dep’t of Air Force v. Rose, 425 U.S. 352, 372 (1976)). This broad interpretation of the

meaning of the phrase “similar file” has led courts to conclude that Exemption 6 protection not

only relates to entire physical files, but also encompasses “bits of personal information” that refer

to a particular individual. Judicial Watch, Inc. v. FDA, 449 F.3d 141, 152 (D.C. Cir. 2006).

       In this regard, courts have held specifically that Exemption 6 covers “such items as a

person’s name, address, place of birth, employment history, and telephone number[,]” Lewis v.

Dep’t of Justice, 867 F.Supp.2d 1, 17 (D.D.C. 2011), notwithstanding the nature of the document

or file within which this information appears. See, e.g., Coleman v. Lappin, 607 F.Supp.2d 15, 22

(D.D.C. 2009) (holding that “such items as individuals’ names, titles, Social Security numbers,

dates of birth, pay grades, union affiliations, and dates of duty” were properly withheld under

Exemption 6). Given this broad application, the information at issue here—the geographical



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  As discussed in footnote 5, supra, the Agency’s other withholdings under Exemption 6 are not
at issue in this case.


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location of the incidents and the VINs—easily satisfies Exemption 6’s “similar file”

categorization.

       B. Release of the Information Would Compromise a Substantial Privacy Interest

       The next question is whether disclosure of the information “would compromise a

substantial, as opposed to de minimis, privacy interest.” Nat’l Ass’n of Ret. Fed. Emps. v. Horner,

879 F.2d 873, 874 (D.C. Cir. 1989). The “privacy interest at stake may vary depending upon the

context in which it is asserted.” Armstrong v. Exec. Off. of the President, 97 F.3d 575, 582 (D.C.

Cir. 1996). Here, the privacy interest is extraordinarily strong, as it applies to individual drivers

and third-party owners and operators of vehicles, who have a substantial interest in their personal

privacy, including their address and financial details. See Jud. Watch, 449 F.3d at 152-3.

       The Agency evaluated the privacy interest and determined that release of the location data

and VIN information would compromise a substantial privacy interest. Humphrey Decl. ¶ 18.

Release of such information could, with very little additional effort, allow someone to identify the

individual(s) involved in an incident and obtain the individual’s PII. Humphrey Decl. ¶¶ 13, 16-

18. For example, a simple internet search of the location of an incident, combined with the

information published in the monthly Standing Order reports which are already public, such as the

date of the incident, date of the report, type of vehicle, and any injuries, would easily permit

identification of the individual driver. Humphrey Decl. ¶ 13. Similarly, the last six digits of the

VIN, combined with the first eleven digits that are already publicly available, could easily be used

to obtain a wealth of PII from the vehicle registration, including name, home address, date of birth,

and any lien information. Humphrey Decl. ¶¶ 16-18. This is because the last six digits of a VIN

provide a unique designator for a particular vehicle, compared to the first 11 digits of the VIN,

which encode more general characteristics of a vehicle. Humphrey Decl. ¶ 16; see also 49 C.F.R.




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Part 565. 8 This could lead to harassment, financial intrusion, unwanted media or legal attention,

or other exploitation of the individual’s PII for commercial gain. Humphrey Decl. ¶¶ 18-19.

        C. The Privacy Interest Outweighs the Public Interest

        The final element of the Exemption 6 analysis is balancing the individual’s privacy interest

against the public’s interest in the information. See Nat’l Ass’n of Home Builders v. Norton,

309 F.3d 26, 33-34 (D.C. Cir. 2002). “The only valid public interest in the FOIA context is one

that serves FOIA’s core purpose of shedding light on an agency’s performance of its statutory

duties.” Smith v. Dep't of Lab., 798 F. Supp. 2d 274, 285 (D.D.C. 2011)

        Here, there is no particular public interest in the specific location information that the Post

seeks. Details on the individual drivers, including the precise location of each incident and the

VIN of the vehicle involved, does not serve any public purpose in release. Individual privacy

outweighs any public interest in identifying the owners of vehicles who have experienced issues.

See, e.g., Center for Auto Safety v. the Agency, 809 F. Supp. 148 (D.D.C. 1993). The Agency has

balanced the public interest—to the extent any exists, see Humphrey Decl. ¶ 29 (“There is, for

instance, no benefit to the public knowing the specific identities of these drivers of Tesla

vehicles.”)—and the privacy interests of these private citizens whose information is swept up in

the Agency’s records, id. Certainly, whatever information the Post and the public need to judge

the Agency’s performance of its safety mission does not extend to such individual PII. See

Niskanen Ctr., 20 F.4th at 792 (“The public obviously has a strong interest in whether [the agency]

fulfills its . . . obligations . . . . But to determine whether it does so, the public has no need for the



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  A summary of the specific vehicle information encoded in each digit of a VIN is available in
NHTSA’s New Manufacturers Handbook. See NHTSA, New Manufacturers Handbook:
Requirements for Manufacturers of Motor Vehicles and Motor Vehicle Equipment, available at
https://vpic.nhtsa.dot.gov/ManufacturerHandbook.pdf.


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personal identifying information of” the private individuals); Dep’t of Just. v. Reporters Comm.

for Freedom of the Press, 489 U.S. 749, 773 (1989) (FOIA’s purpose is not furthered “by

disclosure of information about private citizens that is accumulated in various governmental files

but that reveals little or nothing about an agency’s own conduct”). The harm in such a release is

foreseeable, and outweighs the countervailing public interest.

        Summary judgment is therefore appropriate with respect to the Agency’s application of

Exemption 6.

III.    The Agency Appropriately Disclosed All Reasonably Segregable, Non-Exempt
        Information

        Where a record contains information exempt from disclosure, “reasonably segregable,”

non-exempt information must still be disclosed after redaction. 5 U.S.C. § 552(b). On the other

hand, even non-exempt portions of records need not be disclosed if they are “inextricably

intertwined with exempt portions.” Mead Data Cent., Inc. v. Dep’t of Air Force, 566 F.2d 242,

260 (D.C. Cir. 1977). To establish that all reasonably segregable, non-exempt information has

been disclosed, an agency need only show with reasonable specificity that the information it has

withheld cannot be further segregated. See, e.g., Armstrong v. Exec. Off. of President, 97 F.3d

575, 578-79 (D.C. Cir. 1996); Canning v. Dep’t of Just., 567 F. Supp. 2d 104, 110 (D.D.C. 2008).

        Here, the Agency conducted a separate analysis of the withheld information to determine

whether any additional portions could be segregated and produced. With respect to the CBI

information withheld under Exemption 4, the Agency conducted a further line-by-line review of

the records and determined that no further disclosure was possible without foreseeable competitive

harm to Tesla and the other reporting entities, and, by extension, to the Agency itself as future

disclosures would likely be less forthcoming. Kuppersmith Decl. ¶¶ 27-28. Similarly, the Agency

conducted a separate review of the information withheld under Exemption 6 and determined that



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no further production was possible without violating the privacy interests of the individuals

involved and thus causing foreseeable harm. Humphrey Decl. ¶ 20.

                                            CONCLUSION

       For the reasons set forth above, the Agency respectfully requests that this Court grant

summary judgment in its favor as to all claims against it in this case.



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       Washington, DC                         Respectfully submitted,


                                              EDWARD R. MARTIN, JR.
                                              D.C. Bar No. #481866
                                              United States Attorney

                                      By:      /s/ Kartik N. Venguswamy
                                              KARTIK N. VENGUSWAMY
                                              D.C. Bar No. #983326
                                              Assistant United States Attorney
                                              601 D Street, NW
                                              Washington, D.C. 20530
                                              Tel: (202) 252-1790
                                              kartik.venguswamy@usdoj.gov

                                              Attorneys for the United States of America




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